          Case 2:23-cv-01626-MMD-MDC Document 33 Filed 01/04/24 Page 1 of 1




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3                                     UNITED STATES DISTRICT COURT

4                                           DISTRICT OF NEVADA

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      Robert J. Cipriani,
6
                            Plaintiff(s),
7                                                        2:23-cv-01626-MMD-VCF
      v.                                                 Order regarding discovery plan
8     Resorts World Las Vegas, LLC, et al.,
9                           Defendant(s).

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11          A discovery plan and scheduling order has not been filed pursuant to LR 26-1.
12          Accordingly,
13          IT IS HEREBY ORDERED that the parties must a proposed discovery plan and scheduling order
14   on or before January 19, 2024.
15          DATED this 4th day of January 2024.
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                                                               CAM FERENBACH
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                                                               UNITED STATES MAGISTRATE JUDGE

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